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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

                                                   CIVIL ACTION NO. 1:20-CV-10117-ADB


ISABELLA SCOTT,
      Plaintiff,
                                                          JOINT STIPULATION OF
       v.
                                                          DISMISSAL WITH PREJUDICE
CURRY COLLEGE,
     Defendant.




      Plaintiff, Isabella Scott, and Defendant, Curry College, having resolved this matter to the

mutual satisfaction of the parties jointly stipulate and agree pursuant to Rule 41(a) of the Federal

Rules of Civil Procedure that this action, and each and every count and claim asserted therein,

be dismissed, with prejudice with each party to bear their own costs, expenses and fees.

      Respectfully submitted this 10th day of August 2021.

Isabella Scott,                                         Curry College,

By her attorneys,                                       By its attorneys,



Timothy Sindelar                                        /s/ Amanda Marie Baer
Timothy Sindelar, BBO 557273                            Nicholas Anastasopoulos, BBO #634259
Law Office of Tim Sindelar                              Amanda Marie Baer, BBO #681386
55 Chapel Street, Suite 301                             Mirick, O’Connell, DeMallie & Lougee, LLP
Newton, MA 02458                                        1800 West Park Drive, Suite 400
Phone: (617) 431-1201                                   Westborough, MA 01581-3926
tim@hshmlaw.com                                         Phone: (508) 860-1472
                                                        Fax: (508) 983-6230
Anthony J. Brady, Jr.                                   nanastasopoulos@mirickoconnell.com
1 Rose Avenue                                           abaer@mirickoconnell.com
Maple Shade, NJ 08052
Phone: (561) 603-6387
ladbrady@gmail.com
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                                 CERTIFICATE OF SERVICE
        I, Timothy Sindelar, hereby certify that a copy of the foregoing, filed through the
Electronic Case Filing System, will be sent electronically to the registered participants as
identified on the Notice of Electronic Filing.


                                                          /s/ Timothy Sindelar
                                                          Timothy Sindelar, Esq.

Dated: August 10, 2021
